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                IN THE UNITED STATES DISTRICT COURT FOR THE

                           DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                     8:91CR38
                              )
          v.                  )
                              )
DELANO MAXWELL and HASSAN     )                      ORDER
MAJIED,                       )
                              )
               Defendants.    )
______________________________)

           This matter is before the Court on the motion of Delano

Maxwell for appointment of counsel (Filing No. 846); the motion

of Hassan Majied for appointment of counsel (Filing No. 847); the

motion of Delano Maxwell for permission to proceed in forma

pauperis on appeal (Filing No. 848); and the motion of Hassan

Majied for permission to appeal in forma pauperis (Filing No.

850).   The Court has reviewed the motions and the affidavits in

support thereof.      Accordingly,

           IT IS ORDERED:

           1) The motion of Delano Maxwell for appointment of
counsel is denied and will be addressed by the United States

Court of Appeals for the Eighth Circuit.

           2) The motion of Hassan Majied for appointment of

counsel is denied and will be addressed by the United States

Court of Appeals for the Eighth Circuit.

           3) The motion of Delano Maxwell for permission to

proceed in forma pauperis on appeal is granted.              Defendant may

proceed on appeal without prepayment of costs.
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           4) The motion of Hassan Majied for permission to appeal

in forma pauperis on appeal is granted.             Defendant may proceed on

appeal without prepayment of costs.

           DATED this 22nd day of October, 2009.

                                   BY THE COURT:

                                   /s/ Lyle E. Strom
                                   ____________________________
                                   LYLE E. STROM, Senior Judge
                                   United States District Court
